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                                      UNITED STATES BANKRUPTCY COURT
 9                                    EASTERN DISTRICT OF WASHINGTON
10   In re:
11
     Easterday Ranches, Inc., et al.,                          Lead Case No. 21-00141-11
12
                                                               Jointly Administered
13
              Debtors.                                         Chapter 11
14
15                                                             STIPULATED ORDER RESOLVING ALLY
                                                               BANK’S MOTION FOR RELIEF FROM
16                                                             AUTOMATIC STAY
17
18            Based upon the Stipulation of Ally Bank, its assignees and/or successors (“Creditor”),

19   and Easterday Farms, chapter 11 debtor and debtor in possession (“Debtor” and collectively with

20   Creditor, the “Parties”) by and through their respective counsel, it is hereby ORDERED:
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              1. This Order relates to the following 2019 Ram 3500 VIN: 3C7WR9AL7KG553159
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                   and neither Debtor nor Creditor may seek a modification of this Order absent the
23
                   written consent of both Parties.
24
              2. Debtor has paid the February 12, 2021 and March 12, 2021 regular payments and
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26                 shall continue with the April 12, 2021 regular monthly payment and thereafter to
27                 Creditor in the amount of $1,033.41.
28
              3. Payments shall be made to the following address:
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30                 Ally Bank, Payment Processing Center, PO Box 78234, Phoenix AZ 85062-8234.
     Stipulated Order on Motion for Relief from Stay - 1                            McCarthy & Holthus, LLP
     MH #WA-21-165194-CPG                                                         108 1st Avenue South, Ste. 300
                                                                                              Seattle, WA 98104
                                                                                           Phone (206) 596-4856
     21-00141-WLH11                Doc 595         Filed 04/20/21   Entered 04/20/21 14:45:02      Pg 1 of 3
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              4. Arrearages, if any, will be paid upon the effective date of any assumption of the
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                   contract to the extent that Debtor determines to assume the contract. Any chapter 11
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                   plan of reorganization will include provisions for treatment of Creditor’s claim with
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                   terms consistent with this Order.
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              5. The attorney fees and costs related to the filing of this motion in the amount of
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                   $563.00 will be paid along with the arrearages as provided in paragraph 4 above.
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 8            6. Debtor shall timely perform all other obligations under Creditor’s loan documents as
 9                 they come due, including, but not limited to maintaining insurance coverage.
10            7. In the event Debtors fail to timely perform any of the obligations set forth in this
11                 Order prior to confirmation, Creditor shall notify Debtor and Debtor’s counsel of the
12                 default in writing. Debtor shall have twenty (20) calendar days from the date of the
13                 written notification to cure the default.
14            8. If Debtor fails to timely cure the default, Creditor shall be entitled to submit a
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                   Declaration of Default and an Order Terminating the Automatic Stay thereon on not
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                   less than two (2) business days’ notice. In the event an order is entered terminating
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                   the automatic stay, it shall be immediately terminated and extinguished for all
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                   purposes as to Creditor and Creditor may proceed to commence any action necessary
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                   to obtain complete possession of Vehicle.
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              9. If this case is converted to another chapter, or if the automatic stay is terminated as
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                   provided herein, or if the automatic stay is terminated as a matter of law, the
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                   repayment terms of this Order shall immediately cease in effect and become null and
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24                 void.

25            10. The stay currently in effect shall be lifted as to Creditor at the time a plan is

26                 confirmed.

27   //
28   //
29   //
30   //
     Stipulated Order on Motion for Relief from Stay - 2                            McCarthy & Holthus, LLP
     MH #WA-21-165194-CPG                                                         108 1st Avenue South, Ste. 300
                                                                                              Seattle, WA 98104
                                                                                           Phone (206) 596-4856
     21-00141-WLH11                Doc 595         Filed 04/20/21   Entered 04/20/21 14:45:02      Pg 2 of 3
 1
                                                      ** END OF ORDER **
 2
     Presented by:
 3
 4   /s/ James K. Miersma
 5   James K. Miersma, WSBA# 22062
     Attorney for Ally Bank
 6
 7   Approved as to form and content;
     Notice of Presentation waived:
 8
 9
     /s/ Thomas A. Buford
10   Thomas A. Buford, WSBA #52969
11   Attorney for Debtor

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     Stipulated Order on Motion for Relief from Stay - 3                            McCarthy & Holthus, LLP
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